
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a4543-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a2543-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4523-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4533-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4540-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1543-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4545-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4943-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4547-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4548-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4553-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4843-15.pdf (mistyped character)


IBM_HTTP_Server at www.judiciary.state.nj.us Port 443
